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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

 

SHREVEPORT DIVISION

JESSE DENNIS, JR., TERESA * SUIT NUl\/IBER
DENNIS, the ESTATE OF
JAl\/[ES DENNIS, SR. and the
ESTATE OF DECEDENT,
LUE REE DENNIS
VERSUS *JUDGE
BOSS[ER HEALTHCARE, LLC, *MAGISTRATE JUDGE
d!b/a HERITAGE MANOR OF
BOSSIER

ORIGINAL COMPLAINT

 

NOW INT 0 COURT, through undersigned counsel, comes JESSE DENNIS, JR.,
a major domiciliary of Bossier City, Bossier Parish, Louisiana, TERESA DENNIS, a
major domiciliary of Stafford, Stafford County, Virginia, the ESTATE OF JAMES
DENNIS, SR., and the ESTATE OF DECEDENT, LUE REE DENNIS, hereinafter
referred to as “Plaintiffs”, who, with respect represent:
1.
Made defendant herein is:
BOSSIER I-IE`,ALTHCARE, LLC, a non-Louisiana business corporation
organized pursuant to the laws of the State of Delaware d/b/a I-IERITAGE
MANOR OF BOSSIER, a nursing home licensed to do and doing business

in the State of Louisiana, With its principal place of business in Bossier
Parish, Which may be served through its agent for service ofprocess,

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Corporation Service Conipany, 320 Somerulos Street, Baton Rouge,
Louisiana 70802; hereinafter referred to as “Heritage Manor.”

2.

Plaintiffs, JESSE DENNIS, JR., TERESA DENNIS, the ESTATE OF JAMES
DENNIS, SR., and the ESTATE OF DECEDENT, LUE REE DENNIS, who died on
October 2, 2012, show they are the proper parties to bring the instant suit for the survival
action and wrongful death action pursuant to Louisiana Civil Code Article 2315.1 (A)
and 2315.2 (A) due to the absence of any higher class of beneficiaries as set out in
Section A of said Articles.

3.

This Court has jurisdiction over the lawsuit under 28 U.S.C. § 1332 because the
Plaintiffs and the Defendants are citizens of different states and the amount in
controversy exceeds $75,000.00, excluding interest and costs.

4.
_ Venue is proper with this Honorable Court because two of the Plaintiffs reside
herein and the incident(s) complained of occurred herein in Bossier Parish, Louisiana.
5.

Plaintiffs show that the defendant herein is liable for any and all damages as are
reasonable in the premises.

6.

The amount of damages sought herein are sufficient to establish jurisdiction in this

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Court, and should include legal interest thereon from February 18, 2013, the date the
request for the Medical Review Panel was submitted, until paid and for all costs of these
proceedings

7.

Plaintiffs further show that a claim letter dated February 18, 2013, was filed
against the defendant, HERITAGE MANOR OF BOSSIER, and received by the
Commissioner of Administration on March 5, 2013, pursuant to the Louisiana Medical
Malpractice Act. Plaintiff shows that they were notified by the Comrnissioner of
Administration on March 5, 2013 that the defendant, HERITAGE MANOR OF
BOSSIER, is not qualified and does not have coverage in the Patient’s Compensation
Fund under the provisions ofLouisiana Revised Statutes 40:1299.41, et seq.

8.

Plaintiffs further show that LUE REE DENNIS was a ninety-year old female
admitted to the defendant’s facility in July 2008 for skilled nursing care and continued
physical and occupational therapy.

9.

Plaintiffs further show that LUE REE DENNIS remained in defendant’s care until
and through March 27, 2102, when a skin breakdown on the inner aspect of LUE REE
DENNIS’ left foot was found.

10.

Plaintiffs further show that one week later, on April 3, 2012, a pressure wound
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Was found on LUE REE DENNIS’ right foot, requiring wound care consult, antibiotics,
and dressing changes
l l.

Plaintiffs further show that LUE REE DENNIS remained in the care of the
defendant, HERITAGE MANOR OF BOSSIER, until April 30, 2012, when she was
admitted to a Willis Knighton Health Center for surgical consult and IV antibiotic
therapy due to an infected right foot ulcer.

12.

Plaintiffs further show that LUE REE DENNIS’ injuries became so severe that she
was found to have gas gangrene of her right foot, requiring an above-the-knee amputation
on July 26, 2012. LUE REE DENNTS, passed away on October 2, 2012.

13.

Plaintiffs further show that as a result of her non-ambulatory status, LUE REE
DENNIS was at risk for pressure ulcers and skin breakdowns and defendant HERITAGE
MANOR was required to take the necessary precautions to prevent ulcers from
developing on contact areas.

14.

Plaintiffs timber show that despite defendant HERITAGE MANOR’s obligation
to LUE REE DENNIS, defendant failed to provide reasonable medical care to LUE REE
DENNIS and such negligence led to gangrenous right and left foot pressure ulcers that

became so infected her right leg required amputation above the knee.
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1 5 .

As a result of defendant Heritage Manor’s negligence, LUE REE DENNIS was
allowed to develop a pressure ulcer that required acute care hospitalization and extensive
wound care.

l 6.

At all times pertinent hereto, LUE REE DENNIS, was a patient under the care

and treatment of defendant, I-IERITAGE MANOR OF BOSSIER.
17.

Plaintiffs show that the death of LUE REE DENNIS was the direct and proximate
cause by the defendant, }[ERITAGE MANOR OF BOSSIER, by its negligence, fault and
deviation from the standard of care on defendants’ part, in the following non-exclusive
list of particulars:

a) HERITAGE MANOR OF BOSSLER failed to notify the physician

and family when LUE REE DENNIS’ left foot wound showed signs

of deterioration;

b) HERITAGE MANOR OF BOSSIER failed to monitor LUE REE
DENNIS’ skin for continued breakdown;

c) I-IERITAGE MANOR OF BOSSIER failed to recognize
signs/symptoms of the skin breakdown on LUE REE DENNIS’
inner aspect of the left foot;

d) HERITAGE MANOR OF BOSSIER failed to recognize
signs/symptoms of the pressure wound on LUE REE DENNIS’ right
foot;

e) HERITAGE MANOR OF BOSSIER failed to provide adequate and
reasonable nursing care to LUE REE DENNIS to prevent the

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continued deterioration and contamination of the left and right foot
wound;

f) HIERITAGE MANOR OF BOSSIER failed to update/revise the care
plan interventions when there was deterioration in LUE REE
DENNIS’ pressure ulcers;

g) I-[ERITAGE MANOR OF BOSSIER failed to provide adequate off-
loading of LUE REE DENNIS’ left foot to prevent continued
damage to underlying tissue;

h) HERITAGE MANOR OF BOSSIER failed to follow their own
guidelines for directed documentation for residents with impaired
skin integrity;

i) HERITAGE MANOR OF BOSSIER failed to implement protein
supplements and vitamin therapy to LUE REE DENNIS in a timely
manner to promote wound healing;

j) HERITAGE MANOR OF BOSSIER failed to provide proper
positioning for LUE REE DENNIS to prevent pressure wound
injuries and skin breakdowns;

k) HERITAGE MANOR OF BOSSIER failed to provide proper
nutritional care for LUE REE DENNIS, contributing to the
development of pressure wounds and the breakdown of her skin;

l) I-[ERITAGE MANOR OF BOSSIER failed to provide adequate
wound care and proper nursing interventions throughout LUE REE
DENNIS’ admission; and

m) HERITAGE MANOR OF BOSSI_ER failed to administer proper
medical treatment and other acts of negligence, fault and/or
deviation from the standard of care, as will be revealed through
discovery and thereafter shown at the trial of this matter.

1 8.
As a result of the negligence and deviation nom the standard of care, Plaintiffs,

JESSE DENNIS, JR., TERESA DENNIS, the ESTATE OF JAMES DENNIS, SR., and
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the ESTATE OF LUE REE DENNIS suffered the following, among other, non-exclusive
injuries:

a) Loss of love and affection of their family member, Lue Ree Dennis;

b) Mental pain, and anguish;

c) Ernotional distress;

d) Loss of society;

e) Wrongful death of their family member;

f) Medical expenses;

g) Funeral expenses; and

h) Other damages known and unknown to be shown more specifically at trial
on the merits and through discovery.

19.

As a result of the negligence and deviation from the standard of care, LUE REE
DENNIS suffered physical pain and suffering, emotional pain and suffering and an
untimely death.

20.

The aforestated actions of the defendant, BOSSIER HEALTHCARE, LLC, d/b/a
HERITAGE MANOR OF BOS SIER, fell below the medical standard of care and duty
owed to plaintiffs and plaintiffs are entitled to be fully compensated for all losses,
injuries, and damages which she has suffered as a result of the aforestated medical

malpractice of defendants, BOSSIER HEALTHCARE, LLC, d/b/a HERITAGE MANOR

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OF BOSSIER.
21.

At the time of the incident complained of herein the defendant, HE`.RITAGE
MANOR OF BOSSIER, was not an enrollee under Louisiana Revised Statute 1299.39, et
seq., and is not entitled to the coverages and protections provided under such Act.

22.

That it may be necessary for the plaintiffs to call expert witnesses on their behalf
at the trial of this matter and that the fees of such expert witnesses should be assessed as
costs herein and borne by the defendant

WHEREFORE, PLAINTIFFS, JESSE DENNIS, JR., TERESA DENNIS, the
ESTATE OF JAMES DENNIS, SR., and the ESTATE OF LUE REE DENNIS, pray that
defendant, BOSSIER HEALTHCARE, LLC, d/b/a HERITAGE MANOR OF BOSSIER,
be duly served with a certified copy of the above and foregoing original complaint and be
cited to appear and answer same;

PLAINTIFFS, JESSE DENNIS, JR., TERESA DENNIS, the ESTATE OF
JAMES DENNIS, SR., and the ESTATE OF LUE REE DENNIS, further pray that after
due proceedings had that there be judgment in her favor and against defendant, BOSSIER
}[EALTHCARE, LLC, d/b/a HERITAGE MANOR OF BOSSIER, for a sum sufficient to
compensate plaintiffs for all losses, injuries and other damages which they have suffered
as a result of the aforementioned malpractice by defendants with legal interest from the

date that the request for the Medical Review Panei was made; until paid, and for all costs
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of these proceedings, including the fees of any expert witnesses that may be called to
testify on behalf of the plaintiffs at the trial of this matter, and for all orders and decrees
necessary and proper, considering the premises.

PLAINTIFFS, IESSE DENNIS, JR., TERESA DENNIS, the ESTATE OF
JAMES DENNIS, SR., and the ESTATE OF LUE REE DENNIS, further pray for full,

general and equitable relief.

Respectfully submitted,

/s/Patrick R. Jackson

Patrick R. Jackson

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